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                     DECLARATION OF JAMES BUTCHER

 I, James Butcher, declare as follows:

      1.     I am the President and CEO of Chemonics International. I submit this

declaration in support of Plaintiffs’ Motion to Enforce the Temporary Restraining

Order (TRO). The statements made in this declaration are based on my personal

knowledge and my understanding of information made available to me pursuant to

my duties at Chemonics.

      2.     Plaintiff Chemonics is a U.S. employee-owned company headquartered

at 1275 New Jersey Avenue SE, Washington, DC 20003. Chemonics works to

safeguard American security, promote economic prosperity, and address global

challenges before they reach American shores. Working on behalf of the U.S.

Department of State and the U.S. Agency for International Development (USAID)

and with other partners, Chemonics has delivered results across the spectrum of

country contexts, from stable societies and high-growth economies to challenging

environments embroiled in political or military conflict.

      3.     As of today, Chemonics has roughly $110.3 million in outstanding

invoices issued to USAID for work performed in 2024, most of which were

submitted prior to the stop-work orders. About $25.2 million of the $110.3 million

in outstanding invoices is past due, with no visibility into when they may be paid.

      4.     Since the Court issued the TRO on February 13, Chemonics has

received no payments from either the State Department or USAID, including for its

programs that have received waivers.



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      5.     As recently as today (February 20, 2025), Chemonics has received

communications from USAID stating that the government continues to experience

“technical difficulties” processing payments, suggesting that the government is in

fact physically unable to comply with the Court’s TRO.

      6.     Chemonics has received several communications from various USAID

personnel in the last few days acknowledging the TRO but stating that USAID

personnel have yet to receive guidance from Washington regarding how the TRO is

to be implemented. As just a few examples:

            a. On February 19, Chemonics received a response from USAID to a

               number of questions it had sent the agency regarding Chemonics’s

               FEWS NET (Famine Early Warning Systems Network) contracts,

               which are supposed to be subject to one of the waivers. The response

               is attached herewith as Exhibit 1. USAID’s response to every one of

               Chemonics’s questions save one was that the agency had no

               “information to provide at this time.”

            b. Another February 19 email from USAID, sent to Chemonics in

               response to its request for guidance regarding the TRO’s impact on a

               certain termination notice Chemonics had received from USAID,

               contained no such guidance. The email is attached herewith as

               Exhibit 2. It read in relevant part, “In accordance with USAID

               Industry Liaison’s ‘Special Notice to All Foreign Assistance

               Recipients’ dated February 15, 2025, USAID will provide further



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               guidance on the TRO. I will share the guidance once it is provided.”

            c. In a February 18 email from William Sedlak, Contracting Officer at

               USAID, responding to Chemonics’s notification of an overdue

               invoice, Mr. Sedlak wrote, “I confirm receipt of your email. We are

               awaiting additional guidance from USAID HQ on payment

               processes in light of the recent Temporary Restraining Order. We

               hope to have additional guidance for outstanding invoices soon.”

               The email is attached herewith as Exhibit 3.

            d. A February 18 email to Chemonics from Muhammad Ali Bilal,

               Administrative Contracting/Agreement Officer at USAID Pakistan,

               in response to another Chemonics notification of an overdue invoice,

               contained an almost identical message: “We are waiting for

               guidance from Washington in order to proceed. We will get back to

               you as soon as we receive any guidance.” The email is attached

               herewith as Exhibit 4.

            e. A February 18 email from USAID Nepal Contracting Officer Maria

               Televantos that was forwarded to Chemonics from the Chief of

               Party at USAID Early Grade Learning in Nepal, attached herewith

               as Exhibit 5, similarly makes clear that the government had yet to

               share “guidance . . . on the specifics related to implementation of the

               TRO.”


I declare under penalty of perjury that the foregoing is true and correct.


                                           3
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Executed on February 20, 2025, in Falls Church, Virginia.




                                                            James Butcher
                                                            President and CEO,
                                                            Chemonics International,
                                                            Inc.




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                            Exhibit 1
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From:                Nyia Harris
To:                  Elizabeth Martin
Cc:                  Jenny Coneff; Erik Landemalm; FEWS NET PMU IDIQ; kiejohnson@usaid.gov; kcoffey@usaid.gov; Eugene
                     Katzin; Kevin Ulmer; girby@usaid.gov; Christie Savage; Carlos Flores; Vanessa Roy; Peter Thomas
Subject:             Re: FEWS NET action items
Date:                Wednesday, February 19, 2025 9:59:37 AM
Attachments:         image001.png



Good Morning,

Please see below for responses regarding questions to the CO.

Questions for the COs:
Currently, we only have three questions for the COs. As these are answered, and we begin
to get a clearer sense of the path forward, we will likely have further questions.

        1.
             When will outstanding invoices for work completed prior to the SWO be paid?
             What actions can suppliers take to expedite the payment of those invoices so that
             lifesaving work may restart? We do not have any information to provide at this time.
             We will continue to look into the matter.

        2.
             When will USAID confirm that the costs incurred during the SWO period will be
             deemed allowable and allocable and provide any further guidance available? While
             we have fully complied with the SWO by undertaking cost mitigation measures,
             there have been costs that we have continued to incur to remain in a readiness
             state to re-commence operations. We do not have any information to provide at this
             time. We will continue to look into the matter.

        3.
             Under what auspices is Chemonics being asked to resume activities on its FEWS
             NET contracts (DS, KB and Pillar 3): 1) CO interpretation of the partial stop work
             order provisions, At this particular time, the waiver allows for food related activities
             to be addressed. If further clarification is needed for any activity, a meeting should
             be set up with the COR to clarify technical responsibilities of the contract. 2)
             approval for the application of the waiver for emergency food assistance and
             administrative expenses, to FEWS NET See above response for number 1; 3) an
             exception to the pause approved by the Director of Foreign Assistance We do not
             have any further information at this time, 4) the completion of the assessment of
             FEWS NET programmatic efficiencies and consistency with United States foreign
             policy and a determination to continue the contracts in whole or in part At this time,
             the partial stop work order is in place for this contract. No other information at this
             time, or 4) another mechanism for lifting the partial SWO or approving technical
             activities and allowable and allocable and to be reimbursed in line with prompt
             payment requirements? No other information at this time.
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Currently we are working with the COR to ensure that there is 100% communication
between OAA, COR and the contractor. Any new and/or revised information will be
provided as soon as possible.

If you have any other questions, please let me know.

"How wonderful it is that nobody need wait a single moment before starting to
improve the world" - Anne Frank, The Diary of a Young Girl

Nyia Harris, MBA | Contracting Officer
Office of Acquisition and Assistance
M/OAA/BHA-CPS/BHA
500 D Street SW |Washington, D.C. 20024
O. XXX-XXX-XXXX C. 202-765-5073
nharris@usaid.gov

In accordance with the policies and procedures set forth in E.O. 13526 this e-mail
is UNCLASSIFIED




On Tue, Feb 18, 2025 at 2:41ௗPM Elizabeth Martin <elmartin@chemonics.com> wrote:

 Dear Jenny,



 Thank you and the team for speaking with us last Thursday. We were pleased to be able to
 resume conversations with you about our FEWS NET contracts (Decision Support,
 Knowledge Base, and Pillar 3).



 During our conversations, we promised to provide you with the following:



        A list of outstanding invoices (emailed on Friday, Feb 14 and attached for ease of
        reference)
        An understanding of the obstacles to resuming the programs (below)
        A list of questions for the COs (below)
        Proposals for the restarting of each program (attached)



 We look forward to continuing our dialogue with you. You mentioned that you may have
 time for another round of discussions this Wednesday or Thursday. Our team stands ready to
 discuss with you whenever it is convenient.
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Obstacles:

The primary obstacle to Chemonics restarting FEWS NET programs is the sizable
outstanding balance of unpaid invoices, which currently stands at $5,722,803.13. this covers
the period through 31 December 2024. Chemonics continued to incur costs through the
effective date of the SWO (Jan. 27, 2025), as well as the costs essential to implementing the
stop work order and maintaining operational readiness in the period since the SWO. Until
invoices begin to be paid, our ability to operate, even under the waiver, remains severely
compromised.



Our secondary obstacle is that the SWO order delayed FEWS NET’s start up. At the time of
receiving the stop work order, approximately 35% of its project office roles were still in the
recruitment process and data collection and project activities had just begun. As a result of
the SWO, all employment offers were rescinded, recruits were suspended, 88% of US based
billable staff were placed on furlough, and all technical activities were stopped. While we
would be delighted to reverse these actions, bringing the US FEWS team back from
furlough and resuming hiring, it means that it will take some time to re-start technical
activities.



Our final, and perhaps most time sensitive obstacle, is the status of our project office staff.
As most countries do not have the equivalent to furlough and obligations under local labor
law in many countries result in it being more costly to terminate staff and rehire them than to
continue employing them through the SWO period, we have continued to employ most local
staff. In the next week we will be making the decision whether to terminate these staff. If we
do terminate them, this will further slow our ability to restart the program.



Questions for the COs:

Currently, we only have three questions for the COs. As these are answered, and we begin to
get a clearer sense of the path forward, we will likely have further questions.

   1. When will outstanding invoices for work completed prior to the SWO be paid? What
      actions can suppliers take to expedite the payment of those invoices so that lifesaving
      work may restart?
   2. When will USAID confirm that the costs incurred during the SWO period will be
      deemed allowable and allocable and provide any further guidance available? While
      we have fully complied with the SWO by undertaking cost mitigation measures, there
      have been costs that we have continued to incur to remain in a readiness state to re-
      commence operations.
   3. Under what auspices is Chemonics being asked to resume activities on its FEWS NET
      contracts (DS, KB and Pillar 3): 1) CO interpretation of the partial stop work order
      provisions, 2) approval for the application of the waiver for emergency food
      assistance and administrative expenses, to FEWS NET; 3) an exception to the pause
      approved by the Director of Foreign Assistance, 4) the completion of the assessment
      of FEWS NET programmatic efficiencies and consistency with United States foreign
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        policy and a determination to continue the contracts in whole or in part, or 4) another
        mechanism for lifting the partial SWO or approving technical activities and allowable
        and allocable and to be reimbursed in line with prompt payment requirements?




Best,



Liz



Elizabeth (Liz) Martin
Managing Director | East and Southern Africa

Chemonics International Inc

T: +1.202.299.4645
E: elmartin@chemonics.com




Development works here.




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                            Exhibit 2
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From:            Ethan Takahashi
To:              Jennifer Burdett
Cc:              Nicole Kresse; Doina Nistor; Moldova FTA PMU
Subject:         Re: Full Termination for Convenience for Award No. 72011721C00001
Date:            Wednesday, February 19, 2025 7:29:04 AM
Attachments:     image001.png
                 image002.png
                 image003.png


Dear Ms. Burdett,

I confirm receipt. In accordance with USAID Industry Liaison’s “Special Notice to All
Foreign Assistance Recipients” dated February 15, 2025, USAID will provide further
guidance on the TRO. I will share the guidance once it is provided.

Regards,
Ethan

On Fri, Feb 14, 2025 at 11:32ௗPM Jennifer Burdett <JBurdett@chemonics.com> wrote:
 Dear Mr. Takahashi,

 As a follow-up to our message yesterday, we understand the United States District Court for
 the District of Columbia has enjoined the termination through a temporary restraining order
 (TRO). Can you provide any additional guidance in light of the TRO?

 Best regards,
 Jennifer




 From: Jennifer Burdett <JBurdett@chemonics.com>
 Sent: Thursday, February 13, 2025 3:59 PM
 To: Etakahashi@usaid.gov
 Cc: Nicole Kresse <nkresse@chemonics.com>; Doina Nistor <dnistor@chemonics.md>; Moldova
 FTA PMU <PMU-MDA-FTA@chemonics.com>
 Subject: RE: Full Termination for Convenience for Award No. 72011721C00001



 Dear Mr. Takahashi,

 We confirm that we have received the message you sent yesterday at 09:38 EST and are
 currently reviewing its contents.

 Thank you,

 Jennifer



 Jennifer J. Burdett
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 Managing Director

 Europe and Eurasia Region
 Chemonics International Inc.
 1275 New Jersey Avenue, SE

 Washington, D.C. 20003

   202 955-7514 |      jburdett@chemonics.com

 Pronouns: she, her, hers

 1476647899989_New




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 received in error, please delete it without reading it. Your receipt of this message is not intended to waive
 any applicable privilege. Please do not disseminate this message without the permission of the author.




 From: Ethan Takahashi <etakahashi@usaid.gov>
 Sent: Wednesday, February 12, 2025 9:38 AM
 To: Nicole Kresse <nkresse@chemonics.com>; Doina Nistor <dnistor@chemonics.md>; Moldova
 FTA PMU <PMU-MDA-FTA@chemonics.com>
 Subject: Full Termination for Convenience for Award No. 72011721C00001



 Dear Ms. Kresse,

 Please find attached a Notice of Full Termination for Convenience for Award No.
 72011721C00001. If you have questions or concerns, please contact me. I am monitoring
 USAID guidance and will provide additional information as it is available.

 Respectfully,



 Ethan Takahashi
 Supervisory Contracting Officer
 USAID/Moldova
 +373 060529726



--
Ethan Takahashi
Supervisory Contracting Officer
USAID/Moldova
+373 060529726
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                            Exhibit 3
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From:              William Sedlak
To:                Katie Taylor
Cc:                Amalia Eraso; Hernando Sanchez; Colombia Inclusive Justice PMU; Invoicing (CSS); Vlad Mitchev; Can Varol;
                   mpenuela@usaid.gov; bogotausaidofmpayments@usaid.gov; Service Account - Chemonics Invoices;
                   InvoiceSubmission; Reduced Hours Staff LAC
Subject:           Re: Overdue: Colombia Inclusive Justice Activity, 72051422D00001, Invoice 034 - November 2024, Chemonics
                   International, Inc. PJIN0008481
Date:              Tuesday, February 18, 2025 3:31:02 PM


Greetings Katie,

I confirm receipt of your email. We are awaiting additional guidance from USAID HQ on payment processes in
light of the recent Temporary Restraining Order. We hope to have additional guidance for outstanding invoices
soon.

Regards,
Bill


On Tue, Feb 18, 2025 at 2:41ௗPM Katie Taylor <ktaylor@chemonics.com> wrote:

  Dear Ms. Eraso, Mr. Sanchez, and Mr. Sedlak,


  Please find attached Chemonics’ overdue invoice under Contract No. 72051422D00001. This
  invoice was originally submitted on January 17, 2025 pursuant to the requirements of the
  contract and FAR 52.232-25. However, more than 30 days have passed and the invoice has
  not been paid. Accordingly, pursuant to Prompt Payment Act, FAR 52.232-25, and the terms
  of our Contract (and as reinforced by the temporary restraining order issued by the U.S.
  District Court for the District of Columbia on February 13, 2025), we respectfully request
  immediate payment of the attached invoice, plus applicable interest and penalties. We
  appreciate your prompt attention to this matter and thank you for your cooperation.



  Best regards,
  Katie



  Katie Taylor

  Director

  Latin America and the Caribbean
  Chemonics International
  1275 New Jersey Avenue SE, Washington, DC 20003

  T 202.955.4084 | M 630.728.2042
  ktaylor@chemonics.com

  Pronouns: she, her, hers
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                            Exhibit 4
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From:            Muhammad Bilal
To:              Paul Heller
Cc:              myasser@usaid.gov; fjawad@usaid.gov; Shakoor, Afsheen (USAID/Pak/CSG); AsiaSWO@chemonics.com;
                 Farrukh Khan; Pakistan-Islamabad-OAA
Subject:         Re: Overdue invoices - Pakistan IPA (72039122C00001)
Date:            Tuesday, February 18, 2025 12:14:11 AM
Attachments:     image001.png


The correct email address is pakistanoaa@usaid.gov . Please disregard the previous one.

Thanks
Ali
Muhammad Ali Bilal
Administrative Contracting/Agreement Officer
Office of Acquisition and Assistance, USAID/Pakistan
Tel: (92-51) 201-4323; Cell: 0300-501-2795
Email: mbilal@usaid.gov , Webpage: http://www.usaid.gov




On Tue, Feb 18, 2025 at 9:06ௗAM Muhammad Bilal <mbilal@usaid.gov> wrote:
 Dear Mr. Heller,

  Thanks for your email. I acknowledge receipt. We are waiting for guidance from
  Washington in order to proceed. We will get back to you as soon as we receive any
  guidance.

  In order to ensure that nothing falls through the cracks during these uncertain times, kindly
  keep pakistanooa@usaid.gov in copy.

  Best regards
  Ali
  Muhammad Ali Bilal
  Administrative Contracting/Agreement Officer
  Office of Acquisition and Assistance, USAID/Pakistan
  Tel: (92-51) 201-4323; Cell: 0300-501-2795
  Email: mbilal@usaid.gov , Webpage: http://www.usaid.gov




  On Sun, Feb 16, 2025 at 8:23ௗPM Paul Heller <pheller@chemonics.com> wrote:

    Dear Mr. Bilal,



    Please find attached Chemonics’ overdue invoices under Contract No. 72039122C00001.
     These invoices were originally submitted on November 30, 2024 and December 31, 2024
    pursuant to the requirements of the contract and FAR 52.232-25. However, more than 30
    days have passed and the invoices have not been paid. Accordingly, pursuant to Prompt
    Payment Act, FAR 52.232-25, and the terms of our Contract (and as reinforced by the
    temporary restraining order issued by the U.S. District Court for the District of Columbia
    on February 13, 2025), we respectfully request immediate payment of the attached
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invoice, plus applicable interest and penalties. We appreciate your prompt attention to this
matter and thank you for your cooperation.



Thank you,

Paul Heller




Paul Heller
Director | Asia Region

Chemonics International Inc.
Tel +1.202.524.7618

Mobile +1.202.706.4774

Skype paul.heller9

pheller@chemonics.com

www.chemonics.com




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                            Exhibit 5
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From:            Patrick Fayaud
To:              Ananda Paudel; Tara N Poudel; Sanjay Gupta; Bina Ranjit; Yord Thaviphoke; Nepal EGL PMU; Efrain Laureano
Subject:         FW: Update from USAID/Nepal
Date:            Tuesday, February 18, 2025 5:14:59 AM



Dear all,

We have received this message from our CO today.

Best regards,

Patrick

Patrick Fayaud
Chief of Party
USAID Early Grade Learning
Sama Marg, Kamalpokhari, Kathmandu, Nepal
Phone: +977-14547701/02 Cell: +977 9704528313



From: Maria Televantos <mtelevantos@usaid.gov>
Sent: Tuesday, February 18, 2025 3:34 PM
Cc: Lesley DeRosa <lderosa@usaid.gov>; Robyn Bertholon <rbertholon@usaid.gov>
Subject: Update from USAID/Nepal

Dear Implementing Partners,


Many of you have written to OAA regarding the Court Order and how it applies to your awards. I hope you
all received the below message from USAID’s Industry Liaison, which notifies partners about the
temporary restraining order (TRO). At this time, we are still waiting on guidance from Washington on the
specifics related to implementation of the TRO. We understand that receiving clarification is important,
and we hope to receive more information from Washington overnight.

Thank you,
Maria

---------- Forwarded message ---------
From: USAID Industry Liaison <USAID-Industry-Liaison@subscribe.usaid.gov>
Date: Sun, Feb 16, 2025 at 3:12ௗAM
Subject: Special Notice to All Foreign Assistance Recipients
To: <mtelevantos@usaid.gov>
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On February 13, 2025, the Court hearing the case of AIDS Vaccine Coalition v. U.S.
Department of State and Global Health Council v. Trump entered a temporary restraining
order against the Department of State, USAID, and OMB, that contains the following
operative language:

“Consistent with the reasoning above, it is hereby ORDERED that Defendants Marco
Rubio, Peter Marocco, Russell Vought, the U.S. Department of State, the U.S. Agency for
International Development, and the Office of Management and Budget (the “Restrained
Defendants”) and their agents are temporarily enjoined from enforcing or giving effect to
Sections 1, 5, 7, 8, and 9 of Dep’t of State, Memorandum, 25 STATE 6828 (Jan. 24, 2025)
and any other directives that implement Sections 3(a) and 3(c) of Executive Order Number
14169, “Reevaluating and Realigning United States Foreign Aid” (Jan. 20, 2025), including
by:

           suspending, pausing, or otherwise preventing the obligation or disbursement of
      appropriated foreign-assistance funds in connection with any contracts, grants,
      cooperative agreements, loans, or other federal foreign assistance award that was in
      existence as of January 19, 2025; or
           issuing, implementing, enforcing, or otherwise giving effect to terminations,
      suspensions, or stop-work orders in connection with any contracts, grants,
      cooperative agreements, loans, or other federal foreign assistance award that was in
      existence as of January 19, 2025.

“It is further hereby ORDERED that nothing in this order shall prohibit the Restrained
Defendants from enforcing the terms of contracts or grants.

“It is further hereby ORDERED that the Restrained Defendants shall take all steps
necessary to effectuate this order and shall provide written notice of this order to all
recipients of existing contracts, grants, and cooperative agreements for foreign assistance.

“It is further hereby ORDERED that the Restrained Defendants shall file a status report by
February 18, 2025, apprising the Court of the status of their compliance with this order,
including by providing a copy of the written notice described above.”

We will provide further guidance on this TRO as soon as we are able to do so.


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Maria Televantos
Director, Office of Acquisition and Assistance
U.S. AGENCY FOR INTERNATIONAL DEVELOPMENT
U.S. Embassy, Maharajgunj
Kathmandu, Nepal
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